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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


SYMBOLOGY INNOVATIONS, LLC,
                                                            CASE NO. 3:17-cv-155-slc
      Plaintiff,
                                                                  PATENT CASE
v.
                                                            JURY TRIAL DEMANDED
MATCO TOOLS CORPORATION,

      Defendant.


                     DEFENDANT MATCO TOOLS CORPORATION’S
                     MOTION TO DISMISS FOR IMPROPER VENUE

       Pursuant to Federal Rule of Civil Procedure 12(b)(3) and 28 U.S.C. § 1406(a),

Defendant Matco Tools Corporation (“Matco”) respectfully requests that this Court

dismiss all claims in Plaintiff Symbology Innovations, LLC’s Complaint for improper

venue. Matco is a Delaware corporation with its principal place of business in Ohio and

thus does not “reside” in this judicial district. Any alleged infringement through “internal

testing” did not occur in this judicial district. Thus venue is improper under 28 U.S.C.

§ 1400(b) and the Supreme Court’s recent ruling in TC Heartland v. Kraft Foods Grp. Brands

LLC, No. 16-341, 581 U.S. __, 2017 WL 2216934 (May 22, 2017).

       In support of this Motion, Matco relies on the following, which are being filed

simultaneously hereto:

             Defendant Matco Tools Corporation’s Brief in Support of Motion to Dismiss
              for Improper Venue; and

             Declaration of Matthew Stump.

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      WHEREFORE, Matco respectfully requests that this Court grant the instant

Motion and dismiss Plaintiff’s claims for improper venue.


Date: June 13, 2017              Respectfully submitted,

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